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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF CONNECTICUT


CONLEY F. MONK JR.,

                Plaintiff,
                                                  Civil Action No. 3:22-cv-01503-JBA
                   v.

UNITED STATES OF AMERICA,                         November 30, 2022

               Defendant.


                                    PROOF OF SERVICE

       I, Michelle Fraling, hereby declare, in accordance with 28 U.S.C. § 1746, that I caused

service of the Summons issued in this case (ECF No. 8), the Complaint (ECF No. 1), the Notice

of Appearance by Michael J. Wishnie (ECF No. 2), the Order on Pretrial Deadlines (ECF No. 4),

the Electronic Filing Order (ECF No. 5), the Standing Protective Order (ECF No. 6), the Notice

to Counsel and Self-Represented Parties (ECF No. 7), and the Motion for Leave for Law Student

Interns to Appear and related attachments (ECF No. 9) (collectively, “ECF Nos. 1-2, 4-9”) to be

made as follows:

       1.     On November 30, 2022, I caused four copies of ECF Nos. 1-2, 4-9 to be sent by

certified mail to Defendant, UNITED STATES OF AMERICA, at 157 Church Street, Floor 25,

New Haven, CT 06510.

       2.     On November 30, 2022, I caused one copy of ECF Nos. 1-2, 4-9 to be sent by

certified mail to the Attorney General of the United States at 950 Pennsylvania Avenue, NW

Washington, DC 20530-0001.
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        3.      On November 30, 2022, I caused one copy of ECF Nos. 1-2, 4-9 to be sent by

certified mail to the Department of Veterans Affairs at 810 Vermont Avenue, NW Washington,

DC 20420.

        4.      Besides mailing costs, no other fees were paid or incurred in conjunction with

service in this case.

        5.      I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

Executed on November 30, 2022

                                              /s/ Michelle Fraling
                                              Michelle Fraling, Law Student Intern
                                              Jerome N. Frank Legal Services Organization
                                              Yale Law School
                                              P.O. Box 209090
                                              New Haven, CT 06520-9090
                                              203-432-4800




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